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                        MILFORD MANAGEMENT CORP.
                                  30 WEST 63ao STREET
                                  NEW YORK, N.Y. 10023
                                   TEL:(212)860.4710
                                   FAX:(212)860-4191




January 24, 2014                                         US MAIL


Steven Greer MD
200 Rector Place, Apt. 35F
New York, NY 10?80

Dear Dr. Greer,

Milford Management has decided to not renew the lease on your apartment. Please vacate
the apartment by Apri130, 2014. Please supply us with a forwarding address when you
have one.

Thank you for your anticipated cooperation.

      rely,
S~G
Clive Spa li
Director of easing Services
cspagnoli@milfordmgmt.com




                                                                                         LD001632
